Case 2:22-cv-00399-AWA-DEM Document 6 Filed 10/26/22 Page 1 of 2 PageID# 25




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

JIMMIE D. COTHERN,

               Plaintiff,

v.                                                   Civil Action No.: 2:22-cv-00399

SWIFT TRANSPORTATION COMPANY
OF VIRGINIA, INC.

and

ALEXANDER ROMERO, JR.

               Defendants.

                                 NOTICE OF SETTLEMENT

       In accordance with the instruction of the Court, Plaintiff hereby submits this Notice of

Settlement to notify the Court that the parties have reached a settlement agreement and the

above-captioned matter has been settled. The parties are in the process of finalizing the

settlement documents and a final agreed and endorsed order shall be filed with the Court upon

completion of the settlement.

                                                     Respectfully submitted,

Date: October 26, 2022                               JIMMIE D. COTHERN

                                                     By: /s/ Thomas A. Fitzgerald II, Esq.
                                                     Thomas A. Fitzgerald II, Esq. (VSB#29153)
                                                     Counsel for Plaintiff
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                                                 1
Case 2:22-cv-00399-AWA-DEM Document 6 Filed 10/26/22 Page 2 of 2 PageID# 26




                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 26th day of October, 2022, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following counsel of record:

                                       James R. Jebo, Esq.
                                       Counsel for Defendants
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                                                                /s/________________
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